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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

JOHN DOE,                                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )
                                             )       Docket No. 2:19-cv-00341-NT
REGIONAL SCHOOL UNIT NO. 21,                 )
JILL LAMONTAGNE, JASON                       )
SULLIVAN, and BRUCE LEWIA,                   )
                                             )
       Defendants.                           )


                               STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties, by

and through their undersigned counsel, hereby agree and stipulate to the dismissal of this action,

with prejudice and without costs to any party.

                                             JOHN DOE

                                             By his attorneys,

DATED: June 4, 2021                          /s/ Seth W. Brewster
                                             Seth W. Brewster, Esq., Bar No. 3741
                                             Alfred J. Falzone III, Esq., Bar No. 6497
                                             Counsel for Plaintiff John Doe

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                                             JILL LAMONTAGNE

                                             By her attorney,

DATED: June 4, 2021                          /s/ James M. Bowie
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                                  James M. Bowie, Esq., Bar No. 185
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                                  REGIONAL SCHOOL UNIT No. 21, JASON
                                  SULLIVAN and BRUCE LEWIA

                                  By their attorneys,

DATED: June 4, 2021               /s/ Stacy O. Stitham
                                  Stacy O. Stitham, Esq., Bar No. 10016
                                  Daniel A. Nuzzi, Esq., Bar No. 8349
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                                  21, Jason Sullivan and Bruce Lewia

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                                CERTIFICATE OF SERVICE


       On June 4, 2021, I filed the foregoing document using the CM/ECF system, which will

send notification of such filing to the parties registered with the CM/ECF system.




Dated: June 4, 2021                                  /s/ Seth W. Brewster
                                                     Seth W. Brewster, Bar No. 3741




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